                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )           No. 16-00210-01-CR-W-DGK
                                               )
RAY J. MAHURIN,                                )
                                               )
       Defendant.                              )

 ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
             AND ACCEPTING DEFENDANT’S GUILTY PLEA

       On November 2, 2017, the Honorable Robert E. Larsen, United States Magistrate Judge

for the Western District of Missouri, issued his Report and Recommendation recommending that

Defendant’s guilty plea be accepted and that Defendant be adjudged guilty of being a drug user

in possession of firearms and ammunition, in violation of 18 U.S.C. §§ 922(g)(3), 924(a)(2), and

2, as charged in Count 11 of the Second Superseding Indictment (Doc. 88). Neither party filed

an objection to the Report and Recommendation, and the time for doing so has passed. 28

U.S.C. § 636(b)(1)(C); Local Rule 74.1(a)(2).      The Court has also reviewed de novo the

transcripts of the proceedings held before Judge Larsen on November 1, 2017. In light of the

evidence in the Record and the lack of an objection from either party, the Court adopts the

Magistrate Judge’s Report and Recommendation and (1) accepts Defendant’s plea of guilty and

(2) finds Defendant guilty of the charged crime in Count 11 the Second Superseding Indictment.

       IT IS SO ORDERED.

Date: January 4, 2018                          /s/ Greg Kays
                                               GREG KAYS, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT




      Case 4:16-cr-00210-DGK          Document 194       Filed 01/04/18     Page 1 of 1
